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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     MARY WOOLF,                                  Case No. 2:19-cv-07353-FLA (KSx)
12                               Plaintiff,
                                                    JUDGMENT
13                  v.
14                                                  Bench Trial: May 18, 2021

15     UNUM LIFE INSURANCE COMPANY
       OF AMERICA, AND NORTHROP
16     GRUMMAN CORPORATION GROUP
17     BENEFITS PLAN,

18                               Defendants.

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21     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

22           This matter came before the court on bench trial on May 18, 2021. Upon

23     reviewing the parties’ trial briefs, the administrative record, and on oral argument of

24     the parties, the court determined that Plaintiff Mary Woolf (“Plaintiff”) is entitled to

25     disability benefits for at least the remainder of the approximately seven months of

26     benefits due under the “regular occupation” standard of determining disability. See

27     Dkt. 46.

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1            Accordingly, judgment is entered in favor of Plaintiff and against Defendants
2      Unum Life Insurance Company of America (“Unum”) and Northrop Grumman
3      Corporation Group Benefits Plan in accordance with the court’s Order Following
4      Bench Trial. Dkt. 46.
5            The court ORDERS that Unum pay Plaintiff long-term disability benefits from
6      September 27, 2016 to April 22, 2017, with pre-judgment interest at the rate specified
7      in 28 U.S.C. § 1961(a).
8            Additionally, the court REMANDS the matter to Unum to consider whether
9      Plaintiff was “disabled” under the terms of the policy that apply after the payment of
10     benefits for twenty-four months, under the “regular occupation”
11     standard of disability.
12           Plaintiff may apply to the court for an award of attorney’s fees and recovery
13     of costs of action.
14           IT IS SO ORDERED.
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16     Dated: October 6, 2021
17                                                 ______________________________
18                                                 FERNANDO L. AENLLE-ROCHA
                                                   United States District Judge
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